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                                                     November 11, 2020

Hon. Christian F. Hummel, U.S.M.J.
James T. Foley U.S. Courthouse
445 Broadway, Room 441
Albany, NY 12207
Via ECF

       Re:     Yeend et al. v. Akima Global Services, LLC, 1:20-cv-01281-TJM-CFH

Dear Judge Hummel:

       I write to respectfully request a two-week extension, until November 30, 2020, to

Plaintiffs’ deadline to file a motion to remand pursuant to 28 U.S.C. § 1447(c).

       Counsel for the Defendant has consented to this extension. The parties propose to discuss

with the Court an appropriate briefing schedule for the motion at the Rule 16 conference.


                                                     Respectfully submitted,

                                                     s/ Maureen Hussain
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